
Smith, J.
The question presented to us, is, whether the interlocutory-order made by Judge Robertson, dissolving the temporary injunction before that time allowed in this case (and which order was appealed from to the circuit court), should be suspended by us. Or in other words, whether we ought now, on this preliminary hearing, enjoin the defendants from the fur-' ther construction, of the lateral sewer on Gholson Avenue, until the court, in regular session, can hear the matter so appealed on its merits.
We understand it to be considered, that an injunction may properly be granted if the village is proceeding, substantially, against the provisions of the statute, or if in a matter in which the council of the village has a discretion, it is grossly abusing it.
The first reason assigned by the counsel for the plaintiff, why the village authorities are proceeding illegally in the matter in question is,' that the main sewer in the district, and into which the Gholson Avenue lateral sewer is to empty, has, according to their claim, no proper outlet.
I understand .that under the 'plan of sewerage heretofore adopted by the village, the main sewer was to empty into the large ravine'at a point some distance north of the point where the Gholson Avenue sewer was to connect with it: and that under the action of the village authorities, it has since then been carried further north, and still further down the ravine and further from the property of the plaintiffs. That this ravine continues till it reaches Millcreek, and at times has a large quantity of water flowing down it — at times it has but very little, and on rare occasions perhaps no water running in it. It is objected, that on th-is account it is not a proper outlet for this main sewer; and for the additional reason, that the village authorities have no right to have the outlet there, as. it interferes with the private rights of the person who owns the land at that point.
Sec. 2370 of the Rev. Stat. provides, that the council may devise a plan for the sewerage of the corporation, consisting of *232one or more main or principal sewers, with the necessary branches and connections,: the main or principal sewers having their outlet in a river or other proper place; and my present opinion is, that the ravine in this case does in fact constitute an outlet to the main sewer. Whether it is a proper one, is, in my judgment, a matter as to which the law confers a discretion on the village authorities, and unless it has been grossly abused, the courts can not properly interfere. And I see no good reason as yet to think that such discretion has been abused. ■ The evidence on this point is, to say the least, very conflicting. Nor do I think the fact' that the right of the village to have the outlet at this point, is denied by the owner of the ground, is a good reason why the court should interfere as prayed for at the instance of the plaintiffs. They are not called upon to defend the rights of the owner. If the village infringes on them, he has his remedy; but if the fact that some person might have a claim against the village for flowing sewage upon, or near his lands, is to stop this work, it is probable that the sewer can never be built anywhere. The same claim might be made by the plaintiffs if it was continued and actually emptied into Mill Creek, or some other stream, for it might then be ap invasion of the rights of some one as much as it is now.
The fact as it is claimed to be, that all of th'e owners of land on Gholson Avenue, have already made private arrangements for carrying off the sewage from their premises, is, I think, no good reason why they can now prevent the construction of this lateral sewer, or be freed from an assessment for its construction, even if it be admitted as claimed, that there are now no other persons than plaintiffs who will be benefited by it. If such a construction is to be put upon the law, it would practically put an end to any general system of sewerage in a municipal corporation, to be paid for by assessments on the adjacent property, and all that a land owner in that event need say is, that he has made other arrangements satisfactory to himself, and thus prevent any assessment upon him. This will not do. The statute, section 2385, which it is claimed justifies this, is intended in my judgment to meet a case where the person has already, by steps taken by the mix*233nicipal corporation, and to the construction of which his land has contributed, been entirely, or in part, supplied with sewerage.
It is again urged that owing to the fact that the %ater supply in Avondale is now very limited, and not sufficient to force the sewage through the sewers to the outlet, that the foecal matter will settle in them, and that the gas generated therefrom will escape through the main holes, and operate as a nuisance to the plaintiffs and others.
That this result will follow, I think, can not be said to be at all certain. Indeed there is much doubt whether such will be the case, even if there be nothing done hereafter by the village authorities to prevent it, which is not to be presumed. It may well be, that in the near future some efficient water supply may be provided, which would enable to flush the sewers, and thus prevent any evils which are suggested as likely to ensue. At all events the danger is not so imminent as in my judgment to require the extraordinary remedy.
Another objection which is urged is, if I understand it right, that the cost of the sewer on Gholson Avenue, and of those on two other avenues, is to be ascertained and added together, and then assessed on the land adjacent to the three avenues, when the cost of the sewer on Rockland Avenue, one of the three, will be much greater than the cost of the one on Gholson Avenue, and that this will be unjust and contrary to law.
•I have not had time carefully to examine the statute, but it seems to' me that there is reason to think that this mode of proceedure is authorized by Sec. 2381; that is the cost of one or more lateral sewers, may be assessed upon the lands in the district through which the main sewer passes, in either of the modes pointed out in the section. At all events no illegal assessment has yet been made, and the plaintiffs can not complain..
I have not had the opportunity to examine these questions with the care I should like to, and would do were they presented on a final hearing of the case. 1 simply express my present opinions, and hold myself ready to arrive at a different conclusion hereafter, should I see reason to. do so. I am the more free'to arrive at the conclusions announced, for the *234reason that I do not see how the plaintiffs will be prejudiced by the refusal to enjoin the work, except as general tax-payers, unless it be in the one matter of the nuisance, if it should turn out to De such; for so far as the assessment against them is concerned, if the action of the council is found to be fatally wrong, they could be fully protected by a future decree of the court. I think, therefore, that the injunction ought not to be-continued.
Paxton &amp; Warrington and Wood &amp; Boyd, for plaintiffs.
C. B. Matthews and Strickland &amp; Lehmer, contra.
